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Mitcheli, Marlan

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i. C!R.!Di$'l'.!D|V. CODE
TNW

 

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3. MAC. DKT.!DEF. NUMBER 4. DIST. DKTJDEF. NUMBER

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5. APPEALS DKTJDEF. NUMBER

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U.S. v. Mitcheil Felony

 

 

9. TYPE PERSoN R£Pm:sc~'rco
Adult Dct"endant

ii]. RE,P RESENTATION TYPE

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AND MA]L|NG ADDRE S

QUINN, ARTHUR E.
SUITE 300

1661 INTNL. PL.DRIVE
MEMPH|S TN 38120

`l’e|ophunc Nnn\ber: '

 

i~i. N .»\ME AND MA]L[NG ADDRESS OF LAW FlRM [only prov|d,e per |nslrucl|ons)

 

l3. COURT ORDER

 

O Appolnting Colmlel i:i
i:i F Sulu For Federll Defemier U
l:] F Suhs For PanelAnorney I:] Y StlndbyCoun:el

Pr|or Atlorney's Nlme:

 

Appoll\\menl Dlte:

 

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15, a. Arraignment and/or Plea

'.\1'-

 

b. Bail and Detention Hearings

 

 

 

c. Mution Hearings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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C e. Sentencing Hearings
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:' g. Appeais Court
h. Ocher (Specify on additional sheets)

(Rate per hour - 5 ) TOT.»\LS: d
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ZJ. iN COURT COMP. 24. OUT OFCOURT COMP.

25. TRAVEL EXPENSES

16. OTHER EXPENSES 27. TOTALAMT. AFPR.'CERT

 

28, S|CNATURE OF THE PRES|[)ING JUDICIAL OFFICER

DATE 181. JUDGE l‘ MAG. JUDGE CDDE

 

29. lN COURT COMP.

 

 

30. OUT OF COURT COMP. 3|. TRAVEL EXPENSES

32. OT`HER EXPENSES 33. 'mTALAMT,APPRovED

 

 

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4. SICNATURE OF CHIEF JUDCE. COURT OF AF|’ E`.ALS (OR DELEGATE) Fny
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UNITEDsTATEs DISTRIC COURT - WETERN DISITRCT OF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 165 in
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Honorable Samuel Mays
US DISTRICT COURT

